  Case 3:15-cv-00785-JBA Document 238 Filed 09/12/19 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


  FIH, LLC,

              Plaintiff,

      -against-                                                l 5-CV-00785 (JBA)

 FOUNDATlON CAPITAL PARTNERS LLC,
 F/K/A FOUNDATION MANAGING MEMBER
 LLC; DEAN BARR; JOSEPH MEEHAN;
 nmMAS WARD; AND JOSEPH
 ELMLTNGER,
              Defendants.


                  STIPULATION OF DISMISSAL WITH PREJUDICE
                     AS TO DEFENDANT JOSEPH ELMLINGER

           Pursuant to Fed.R.Civ.P. 41 (a)(l ), plaintiff FIH, LLC and defendant Joseph

 Elmlingcr through their undersigned attorneys, hereby stipulate and agree that the claims

 against Defendant Joseph Elmlinger in above-captioned case, including all claims,

counterclaims, and defenses asserted, shall be, and hereby are, dismissed with prejudice and

without costs to either party as against the other.

Dated: September.12,_, 2019

              (:-~
DEFENDAr~         ~ff SEP& ELMLINGER
By:       ,.}u.,_v'"°LU,l                          By:
        David Trachtenb rg                                  amucl J. cbcnnan
Trachtenberg, Rodes & Friedberg LLP                Sadis & Goldberg LLP
545 Fifth Ave                                      551 Fifth Avenue, 21st Floor
New York, NY 10017                                 New York, NY 10176
(212) 972-2929                                     (212) 573-8 I 64
dtrachtenberg@trfl aw .corn                        sliebennan@sadis.com


SO ORDERED:


U.S.D.J.
                                               2
      Case 3:15-cv-00785-JBA Document 238 Filed 09/12/19 Page 2 of 2




                                 CERTIFICATE OF SERVICE


I hereby certify that on September 12, 2019, the foregoing was filed electronically and served by

mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to

all parties by operation of the Court's electronic filing system. Parties may access this filing

through the Court's CMIECF system.




                                                      Isl Andrew M. Zeitlin
                                                      Andrew M. Zeitlin




7990662vl
